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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION

THOMAS SCOTT,

      Plaintiffs,
v.                                        Case No. 8:21-cv-1322-CEH-AAS

ST. PETERSBURG COLLEGE
BOARD OF TRUSTEES,

      Defendants.
___________________________________/

                                   ORDER

      Counsel for Plaintiff Thomas Scott moves to withdraw, requests excusal

from the parties’ previously scheduled mediation on July 14, 2022, and

requests a stay of all deadlines in this matter until July 18, 2022 so Mr. Scott

may have adequate time to obtain new counsel. (Doc. 16). After consulting with

the parties, a videoconference hearing is scheduled for Thursday, June 30,

2022 at 3:00 P.M. to address the pending motion. The court will send counsel

a calendar entry containing a link to the videoconference information.

      ORDERED in Tampa, Florida, on June 29, 2022.
